Case 2:03-cr-20361-.]P|\/| Document 75 Filed 04/18/05 Page 1 of 5 PagelD 87

UN|TED STATES DlSTR|CT COURT F" `
WESTERN DlSTR|CT OF TENNESSEE "E" ` f .*
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UN|TED STATES OF AMER|CA
POBEHT F?, Di .:10LCjO
cLEHi< 1113 g
'V' 2:03CR20361-01-Ml W~D- Oi‘ TN, MEMPH}TS
KENNY VAUGHN

T. Clifton Harviel CJA
Defense Attorney

50 North Front Street, #850
Memphis, TN 38103

 

 

JUDGMENT lN A CRlMlNAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on February 17, 2003.
Accordingly, the court has adjudicated that the defendant is guilty of the following

offense(s):
Date Count
Title & Section MQ_O.LM Offense Numberlsj
Concluded
18 U.S.C. § 922(g) Felon in Possession of a Firearm 11/09/2001 1

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until ali
fines, restitution, costs and special assessments imposed bythis judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant's Date of Birth: 05/04/1977 Apri| 15, 2005
Deft’s U.S. l\/larsha| No.: 19260-076

Defendant’s l\/lailing Address:
204 Li|:)erty Street

Dyersburg, TN 38024 /®CM[O&Q
oN PHiPPs rviccALi_A
uN TED TATEs DisTRicT JuDGE

Aprii i§` , 2005

  

fhis document entered on the docket sheet in complian:n /

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Case 2:03-cr-20361-.]P|\/| Document 75 Filed 04/18/05 Page 2 of 5 PagelD 88

Case No: 2103CR20361-01-Nl| Defendant Name: Kenny VAUGHN Page 2 of 4

lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 120 Nlonths (or 10 Years).

The defendant is remanded to the custody of the United States lvlarsha|.

RETURN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UN|TED STATES MARSHAL
By:

 

Deputy U.S. l\/larshal

Case 2:03-cr-20361-.]P|\/| Document 75 Filed 04/18/05 Page 3 of 5 PageiD 89

Case No'. 2103CR20361-01-Nii Defendant Name: Kenny VAUGHN Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised reiease, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court

STANDARD CONDITIONS OF SUPERV|S|ON

1. The defendant shall not leave thejudiciai district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful ali inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(‘iO) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

Case 2:03-cr-20361-.]P|\/| Document 75 Filed 04/18/05 Page 4 of 5 PageiD 90

Case No: 2:03CR20361~01-lvl| Defendant Name: Kenny VAUGHN Page 4 of 4
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if thisjudgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminal Monetary Penaities sheet of this judgment

ADDlTlONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

1. The defendant shall cooperate with DNA collection as directed by the Probation Office.

2. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

3. The defendant shall seek and maintain full-time employment

CR|M|NAL N|ONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of F’ayments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment1 pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Total Fine Total Restitution
$100.00

 

 

The Specia| Assessment shall be due immediately

FlNE
No fine imposed

REST|TUTION
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 75 in
ease 2:03-CR-20361 Was distributed by faX, mail, or direct printing on
April 18, 2005 to the parties listed.

 

 

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St

Ste. 850

Memphis7 TN 38103

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

